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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

Angel Alejandro Heredia Mons, et al.,             )
on behalf of themselves and others                )
similarly situated,                               )
                                                  )
                    Plaintiffs,                   ) Case No. 1:19-cv-01593-JEB
                                                  )
         v.                                       )
                                                  )
Chad Wolf, Acting Secretary of the                )
Department of Homeland Security, in his           )
official capacity, et al.                         )
                                                  )
                   Defendants.                    )
                                                  )

MOTION FOR LEAVE TO INTERVENE AND TO UNSEAL JUDICIAL DOCUMENTS

       Non-party press organization The Center for Investigative Reporting, Inc. d/b/a Reveal

from The Center for Investigative Reporting (“CIR”), by and through undersigned counsel,

respectfully submits this motion and accompanying memorandum of points and authorities,

Declaration of D. Victoria Baranetsky, and proposed order, seeking leave to intervene under Rule

24 of the Federal Rules of Civil Procedure, for the limited purpose of requesting the unsealing of

certain documents on the docket of the above-captioned case. As set forth more fully in the

memorandum of points and authorities, CIR seeks the unsealing of Defendants’ monthly

productions of parole determinations (see Dkt. Nos. 42, 44, 56, 58, 59, 71, 80, 83, 91) and any

such future productions, to inform the current public debate over the Department of Homeland

Security’s application of parole procedures to asylum seekers, and also to serve the deep-seated

American principle of open access to courts. Additionally, because CIR consents to necessary

redactions to the sealed documents to protect the asylum-seekers’ personal privacy—including
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names and A-numbers—there exist no countervailing interests to justify continued sealing of these

documents.

       In compliance with Local Civil Rule 7(m), counsel for CIR conferred in good faith with

counsel for Plaintiffs and Defendants prior to filing this motion. Plaintiffs do not oppose the

motion, subject to the aforementioned redactions. Defendants’ counsel opposed the unsealing

request, and stated that he would take a further position after having an opportunity to review the

motion as filed.

       For the foregoing reasons, CIR respectfully requests that the Court grant its motion; permit

CIR to intervene in the above-captioned case for the limited purpose of challenging restrictions on

the public’s right of access in this matter; and place on the public record Defendants’ monthly

productions of parole determinations.

       Pursuant to Local Civil Rule 7(f), CIR also respectfully requests an oral hearing on this

motion.



Date: August 20, 2020

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                                  The Center for Investigative Reporting




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                                CERTIFICATE OF SERVICE

       I certify that on August 20, 2020, I served a copy of the foregoing document on the Court

and all parties of record by causing this document and its attachments to be filed with the clerk of

the Court through the CM/ECF system, which will provide electronic notice of this document to

all attorneys of record.



Date: August 20, 2020

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